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12
                            UNITED STATES DISTRICT COURT
13
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                   WESTERN DIVISION
15
     UNITED STATES OF AMERICA,               Case No. 2:21-cv-7078-SK
16
              Plaintiff,                     NOTICE OF VOLUNTARY DISMISSAL
17
                    v.
18
     $599,870.00 IN U.S. CURRENCY,
19   $21,000.00 IN U.S. CURRENCY AND
     APPROXIMATELY 59 MISCELLANEOUS
20   YELLOW AND WHITE COLORED COINS
     AND BARS,
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              Defendants.
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1         NOTICE is hereby given that, pursuant to Fed. R. Civ. P.

2    41(a)(1)(A), plaintiff United States of America voluntarily dismisses

3    the above-captioned action.

4    Dated: December 22, 2021          TRACY L. WILKISON
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8
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